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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA

                         Case No. 5:20-CR-28-MW/MJF

UNITED STATES OF AMERICA

v.

JAMES D. FINCH,

      Defendant.
                                    /

      DEFENDANT FINCH’S MOTION TO DISMISS COUNTS 1–14
          OF THE SECOND SUPERSEDING INDICTMENT

      Defendant James D. Finch by and through undersigned counsel, moves

pursuant to Federal Rule of Criminal Procedure 12 to dismiss Counts 1–14 of the

Second Superseding Indictment as the counts do not sufficiently allege legally

cognizable claims of “honest services fraud” violations. As a result, the counts

should be dismissed.

I.    Procedural Background

      On March 16, 2021, the Grand Jury in Tallahassee returned a 43-count

Superseding Indictment adding James Finch and former Lynn Haven City

Commissioner Antonius Barnes.       ECF No. 64.      The Superseding Indictment

incorporated much of the same confusing, legally flawed, inaccurate language from

the initial Indictment, which the Court had previously criticized. See ECF No. 60.
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      The Superseding Indictment charged Margo Anderson, Adam Albritton,

James Finch, and Antonius Barnes with a single conspiracy count for engaging in

honest services fraud, alleging violations of 18 U.S.C. §§ 1343, 1346, and 1349. The

“Manner and Means” section of Count 1 covered a period of 66 months and included

over 100 paragraphs. It was broken down into 9 subheadings—each containing

different facts of the alleged “overall” conspiracy of honest services fraud. Each

section involved a different set of facts, people, circumstances, and time frames.

Thematically, the charging language attempted to first describe a fraud associated

with certain post-hurricane cleanup and involving a fraudulent invoicing scheme

between Erosion Control Specialist (“ECS”) and Michael White, the City of Lynn

Haven’s former City Manager. The allegations eventually transformed into an

attempt to criminalize repeated complaints by Finch about the high cost of proposed

construction projects.1

      On June 7, 2021, respective counsel for Anderson, Albritton, and Finch

independently challenged multiple counts of the Superseding Indictment, arguing

that the conspiracy count violated the well-settled doctrine of duplicity. Counsel


1
 In retrospect, it is now clear from the evolution of this case that the state and federal
government first “investigated” the ECS hurricane-related false invoice case. This
occurred after state authorities initially arrested City Manager Michael White for
assaulting his wife with a City-issued handgun. Apparently, the White cell phone
contained incriminating text messages leading to additional arrests and pleas. A
federal indictment followed, attempting to go both forward and backward in time,
forcing a host of often unrelated events into a single, continuous conspiracy.

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further demonstrated that other substantive counts were insufficiently pled. ECF

Nos. 131, 138, 143, 149, 155. After oral argument over multiple days and careful

consideration, the Court dismissed Count 1 of the Superseding Indictment on August

19, 2021. ECF No. 185. Following the dismissal of Count 1, and with leave of

Court, the government expressed a desire “to take another stab at Count—at the

conspiracy allegations” and figure out “how to charge them in light of the Court’s

ruling,” for the third time in this case. ECF No. 187, Hr’g Tr. at 97.

       On November 16, 2021, the government obtained a 26-Count Second

Superseding Indictment, again charging a virtually identical duplicitous honest

services conspiracy count. ECF No. 214. The remaining counts charge Defendants

Finch and/or Anderson with substantive honest services wire fraud (Counts 2–14,

20–24), theft or bribery concerning programs receiving federal funds (Counts 15–

17), wire fraud (Counts 18–19), and making false statements (Counts 25–26). Id.

The government incorporated all 122 paragraphs of factually duplicitous allegations

in each of Counts 1–25. Id. For the reasons detailed below, Counts 1–14 of the

Second Superseding Indictment must be dismissed.

II.    Standard of Review

       Rule 12(b) of the Federal Rules of Criminal Procedure provides defendants

with the ability to challenge an indictment for defects, like failure to state a legally

cognizable offense. Fed. R. Crim. P. 12(b)(3)(B)(v). District Courts ruling on such



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pretrial motions must review “the face of the indictment and, more specifically, the

language used to charge the crimes.” United States v. Sharpe, 438 F.3d 1257, 1263

(11th Cir. 2006). A sufficient indictment must “contain[] the elements of the offense

charged and fairly inform[] the defendant of the charge against which he must

defend.” Hamling v. United States, 418 U.S. 87, 117 (1974). “A grand jury

indictment must set forth each essential element of an offense in order for a resulting

conviction to stand.” United States v. Poirier, 321 F.3d 1024 (11th Cir. 2003)

(emphasis added). Even when an indictment “tracks the language of the statute, ‘it

must be accompanied with such a statement of the facts and circumstances as will

inform the accused of the specific offense, coming under the general description,

with which he is charged.” United States v. Schmitz, 634 F. 3d 1247, 1259-60 (11th

Cir. 2011) (quoting United States v. Jordan, 582 F. 3d 1239, 1245 (11th Cir. 2009);

United States v. Bobo, 344 F. 3d 1076, 1083 (11th Cir. 2003)). Accordingly,

dismissal is appropriate “where there is an infirmity of law in the prosecution; a court

may not dismiss an indictment, however, on a determination of facts that should

have been developed at trial.” United States v. Torkington, 812 F.2d 1347, 1354

(11th Cir. 1987).

III.    Evolution of the Honest Services Statute

        The only consistent theme in the Second Superseding Indictment is the

attempted widespread reliance on the “honest services” statute, making it a crime to



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“deprive another of the intangible right of honest services.” 18 U.S.C. § 1346.

Application of the honest services statute, however, has been the subject of harsh

criticism, ultra-strict construction, and limiting instructions by the United States

Supreme Court for the last several decades. This criticism and strict construction

are wholly justified considering the inherent ambiguity as to what constitutes an

“intangible right of honest services.” Considering the statute’s vagueness, the

United States Supreme Court has repeatedly reversed convictions when the

allegations are not precisely and carefully drawn.

      A.     McNally v. United States, 483 U.S. 350 (1987)

      Prior to the enactment of 18 U.S.C. § 1346, the Supreme Court held in

McNally v. United States, 483 U.S. 350 (1987), that federal fraud statutes could not

be used to criminalize behavior on the ambiguous standard of an intangible right to

honest services. The McNally Court held that any attempt to criminalize honest

services fraud based on the general federal fraud statutes was unconstitutional.

McNally also warned that allowing such a prosecution on vague standards would

“involve[] the Federal Government in setting standards of disclosure and good

government for local and state officials.” Id. at 360.

      After McNally, Congress enacted 18 U.S.C. § 1346, attempting to salvage the

theory of “honest services fraud.” Despite these modifications, however, the statute

continued to suffer from repeated scrutiny by the Supreme Court, resulting in high



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Court reversals due to a host of constitutional legal infirmities.

      B.     Skilling v. United States, 561 U.S. 358 (2010)

      After McNally and the enactment of 18 U.S.C. § 1346, the Supreme Court

again rejected a broad honest services fraud theory of criminal liability in Skilling v.

United States, 561 U.S. 358 (2010).

      In Skilling, Jeffrey Skilling, the one-time CEO of Enron, was convicted of

(among other things) wire fraud on the theory that he deprived the company and its

shareholders of his honest services by manipulating financial results and making

false and misleading statements about the company’s performance to “prop up

Enron’s short-run stock prices.” Id. at 368-69. On appeal, the U.S. Court of Appeals

for the Fifth Circuit upheld Skilling’s honest services fraud conviction, rejecting

Skilling’s arguments that his conduct could not fall within the meaning of § 1346

because the conduct “was in the corporate interest and therefore was not self-

dealing.” Id. at 545. Skilling then argued to the Supreme Court that the honest

services statute should be struck down as unconstitutionally vague. Id. at 402.

      The Supreme Court determined that the attempt in that case to criminalize the

deprivation of an “intangible right of honest services” was still unconstitutional in

large measure. Specifically, Skilling held that it would be unconstitutional to apply

such a vague standard, which was advocated by the government. Id. at 408.

      Skilling suggested that the statute should be applied rarely, if at all. In



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following the principle of judicial restraint, however, the Court construed the statute

narrowly to apply only to “bribes and kickbacks.” Id. at 409; see also Black v. United

States, 561 U.S. 465, 471 (2010) (“We decided in Skilling that § 1346, properly

confined, criminalizes only schemes to defraud that involve bribes or kickbacks.”).

      Skilling also specifically excluded large categories of conduct from the scope

of § 1346, including several of the very theories alleged and relied upon in this case.

For example, here, there are allegations of self-dealing and failure to disclose

conflicts of interest. Even if we accept these allegations as true for purposes of this

motion (which they are not), Skilling concluded that self-dealing and conflicts of

interest are not appropriate targets of an honest services prosecution. Skilling, 561

U.S. at 410-11 (rejecting the government’s request to include “the taking of official

action by the employee that further his own undisclosed financial interests” within

§ 1346’s compass); see also id. (holding that honest services fraud does not

encompass conduct wider ranging than the paradigmatic cases of bribes and

kickbacks and declaring, “we resist the Government’s less constrained construction

absent Congress’ clear instruction otherwise.”).

      In short, the Supreme Court’s decision in Skilling makes clear that honest

services mail or wire fraud must involve “offenders who, in violation of a fiduciary

duty, participate[] in bribery or kickback schemes.” Id. at 407. In light of this

holding, Circuit and District Courts must consider the (1) vitality of the “limiting



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principles” adopted prior to Skilling, (2) source and scope of fiduciary duties, and

(3) definition and application of the terms “bribery” and “kickbacks.”

      C.    McDonnell v. United States, 579 U.S. 550 (2016)

      In 2016, the Supreme Court yet again narrowed the application of the honest

services statute. In McDonnell v. United States, 579 U.S. 550 (2016), the Court

reviewed the honest services statute for vagueness.

      In McDonnell, the former Governor of Virginia, Bob McDonnell, began to

accept gifts from a wealthy businessman who was courting McDonnell to help with

his dietary supplement company. Id. at 555. In short, McDonnell and his wife,

Maureen, needed financial help and the businessman promised to alleviate their debt

with loans and more. In return, it was implied that McDonnell would help the

businessman get FDA approval for his dietary supplement by trying to persuade

Virginia public universities to do the necessary research so the company would not

have to pay for it. Id. at 555-61. In exchange, McDonnell and his wife received

more than $175,000 in loans, shopping sprees, vacations, and other gifts from the

businessman, who also even paid for McDonnell’s daughter’s wedding. Id.

      Federal prosecutors indicted McDonnell on charges of honest services fraud

and Hobbs Act extortion because they believed that the businessman bribed

McDonnell. The parties stipulated that terms within both the honest services fraud

and the Hobbs Act extortion statutes would be defined by reference to a federal



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statute prohibiting bribery: 18 U.S.C. § 201. McDonnell, 579 U.S. at 562. The jury

convicted McDonnell on the honest services fraud and the Hobbs Act extortion

charges. Id. at 564.

      Following the verdict, McDonnell moved to vacate his convictions on the

ground that the jury instructions “were legally erroneous because they (i) allowed

the jury to convict [him] on an erroneous understanding of ‘official act,’ and (ii)

allowed a conviction on the theory that [he] accepted things of value that were given

for future unspecified action.” Id. at 565. In addition, McDonnell moved for

acquittal on the basis that there was insufficient evidence to convict him, and that

the Hobbs Act and honest services statute were unconstitutionally vague. Id. His

motions were denied, and the U.S. Court of Appeals for the Fourth Circuit affirmed

the convictions on appeal. Id. The United States Supreme Court, however, reversed.

      Writing for a unanimous Court, Chief Justice Roberts rejected the

government’s contention that the definition of “official act” within § 201(a)(3)

included “any decision or action, on any question or matter, that may at any time be

pending, or which may by law be brought before any public official, in such

official’s official capacity.” Id. at 566. Instead, the Court read both “question or

matter” and “decision or action” more narrowly.

       The Court rejected the government’s expansive interpretations of “official

 act” because it raised significant constitutional concerns. Id. at 576 (rejecting broad



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 interpretations so that “ordinary people can understand what conduct is prohibited”

 and to discourage “arbitrary and discriminatory enforcement”). The Court also

 rejected the government’s expansive interpretations of “official act” because it

 raised significant federalism concerns. Id. (supporting a state’s sovereignty to

 define the structure of its own government and regulate permissible scope of

 interactions between officials and constituents). The Court declined to construe the

 bribery statute in a manner that was ambiguous and involved “the Federal

 Government in setting standards of good government for local and state officials.”

 Id. (citing McNally, 483 U.S. at 360).

      McDonnell was yet another landmark decision, substantially narrowing the

honest services statute and raising questions as to prior decisions. McDonnell took

the analysis beyond where it had been in Skilling, requiring not only allegations and

a finding of a strict quid pro quo exchange, but also constricting the definition for

the required element of an “official act.”

      McDonnell also made clear that a necessary component to be exchanged for a

thing of value in a bribery arrangement is an (alleged) agreement by the public

official to be influenced in performing an official act. Id. at 572. While the public

official need neither perform nor even intend to perform an official act, the official

must, at a minimum, “agree[] to do so.” Id. In addition to the necessary allegation

of an agreement, McDonnell also requires that the indictment language contain



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express allegations of an agreed quid pro quo. Id. at 572-73 (“It is up to the jury,

under the facts of the case, to determine whether the public official agreed to perform

an official act at the time of the alleged quid pro quo.” (emphasis added)).

IV.    The Second Superseding Indictment falls well short of the requirements
       of Skilling and McDonnell.

       A.     No Specificity of any Alleged Promise(s)

       First, McDonnell explained that honest services fraud requires that an official

promise to make a decision or take an action on a question, matter, cause, suit,

proceeding, or controversy. Id. at 572-73. In the context of an honest services quid

pro quo, this requires (i) a promise to influence a focused, concrete, and specific

question, matter, cause, suit, proceeding, or controversy that is either pending or

capable by law of being brought before a public official and (ii) that a factual basis

for the alleged promise is alleged in the indictment. United States v. Silver, 948 F.3d

538, 553 (2d Cir. 2020).

       Defendants understand that evidence of a promise or agreement may be

express or implied. But, that flexibility does not mean that the government can throw

legal caution to the wind by failing to describe the details of who, where, when, and

how—especially in light of the regular and routine yellow-light caution the United

States Supreme Court continues to flash in the bribery context.

        In this case, there are no allegations of a promise or agreement in the first

 122 paragraphs of the Second Superseding Indictment. See ECF No. 214. There

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    are no allegations of when2 a promise was made. There is no description of how

    these individuals expressed their intentions or understanding. There is no detail

    whatsoever as to the nature of an alleged agreement or what was expected.

    Although “in some circumstances, a wink and a nod, an exchange of monies, and a

    subsequent vote on a bill likely will be sufficient,” Silver, 948 F.3d at 558 n.10,

    there are no allegations of a wink and a nod in this case.

          In short, the allegations are devoid of any specifics as to the alleged promise

    or agreement. The Second Superseding Indictment merely states that Finch and

    Anderson “did knowingly and willfully combine, conspire, confederate, and agree

    together and with other persons to devise a scheme to defraud and deprive the City

    of Lynn Haven and its citizens of their right to the honest services.” The substantive


2
 The parameters of the alleged quid pro quo are extraordinarily significant—indeed
legally critical. McDonnell and Silver each place an emphasis on timing. McDonnell
emphasizes that the relevant point in time in a quid pro quo bribery scheme is the
moment at which the public official accepts the payment. See 579 U.S. at 572, 578-
79; see also Silver, 948 F.3d at 576 (“It is only upon a showing that, at the time the
official accepted the payment, she understood it to be a payment in exchange for
official influence on some specific, focused, and concrete matter involving the
formal exercise of governmental power that the Government has met its burden.”
(emphasis added)). Especially when facing a charging document that this Court has
concluded three times is improperly duplicitous as a result of multiple conspiracies,
precision is critically important. As it did in the prior indictments, the Second
Superseding Indictment leaves the defendants guessing and does not fairly inform a
defendant of all charge(s) against which he must defend. To be frank, duplicity,
sloppiness, and imprecision are a recipe for legal disaster. Holding the government
to basic, minimal constitutional standards, after multiple failed attempts, comports
with the law and the Supreme Court’s repeated admonishments. In this unique case,
after multiple bites at the apple, dismissal is warranted.

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 honest service charges simply contain no specifics. Merely tracking the language

 of the honest services statute with no description of who, what, when, where, or

 how is legally insufficient. United States v. Schmitz, 634 F. 3d 1247, 1259-60 (11th

 Cir. 2011) (The charges “must be accompanied with such a statement of the facts

 and circumstances as will inform the accused of the specific offense, coming under

 the general description, with which he is charged.”)

       It is also not apparent with reasonable certainty whether the government

 alleges that there was a single promise between Anderson and Finch or between

 Barnes and Finch or multiple alleged promises over the Second Superseding

 Indictment’s six-year period. There are simply vague, nondescript allegations,

 which the Court has questioned repeatedly. Even worse, the government here has

 declined to plead with specificity or precision despite multiple invitations from this

 Court and despite a clear and overriding mandate from the Supreme Court. Despite

 being ordered multiple times to plead with basic precision, the government has

 either failed or declined. Therefore, dismissal is required.

      B.      “Finch’s Business Interests and City business” is not a legally
             concrete question, matter, cause, suit, proceeding, or controversy.

      Second, the charging document insufficiently describes the particular matter

or question to be influenced. McDonnell explains that honest services fraud does

not require that the official “specify the means that he will use to perform his end of

the bargain.” Id. at 572; see also United States v. Ganim, 510 F.3d 134, 147 (2d Cir.

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2007) (“[S]o long as the jury finds that an official accepted gifts in exchange for a

promise to perform official acts for the giver, it need not find that the specific act to

be performed was identified at the time of the promise . . . .”). But, “even though

the particular act of influence need not be identified at the time of the official’s

promise, the particular question or matter to be influenced must be.” Silver, 948

F.3d at 553.

      Applying McDonnell, the Second Circuit, in Silver, explained that absent a

promise to influence a focused and concrete question or matter there was no promise,

no quid pro quo, and no honest services fraud offense.

      The question that arises here . . . is: what must the official promise at
      the time the bribery offense is committed?

      . . . McDonnell suggests that, at the time the bribe is made, the promised
      official act must relate to a “properly defined” “question, matter, cause,
      suit, proceeding or controversy.” . . . Thus, for an official to promise to
      perform an official act—and thereby engage in the prohibited quid pro
      quo—the official must promise to act on an identified “question, matter,
      cause, suit, proceeding or controversy” at the time of the promise.

      This point is illustrated in the context of this case by considering the
      following example: An official accepts a bribe, stating to the payor that
      she will “take official acts as the opportunities arise.” In other words,
      the official has promised to take—as the opportunities arise—“any
      decision or action on any question, matter, cause, suit, proceeding or
      controversy that may at any time be pending,” a promise so vague as to
      be meaningless. The official has not agreed to take official action on a
      properly defined—i.e., focused, concrete, and specific—question or
      matter. The official has failed to offer a quo. Absent any additional
      specificity, criminal liability could attach to any later action that official
      takes so long as the official is exercising some ability granted to him or



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      her by law, regardless of the fact that the official essentially promised
      nothing in return for the payment.

      ...

      We therefore disagree with [defendant] Silver that the “as the
      opportunities arise” theory of bribery does not survive McDonnell. But
      we agree that, if the district court’s jury instructions failed to convey
      that, as relevant here, a particular question or matter must be
      identified at the time the official makes a promise or accepts payment,
      they were in error.

Silver, 948 F.3d at 556-58 (citations omitted); see McDonnell, 579 U.S. at 568-72,

574 (Bribery requires that an official accept a payment, knowing that he is expecting

to use his office to influence a “focused,” “concrete,” and “specific” question of

matter that “may be understood to refer to a former exercise of governmental

power.”). This is consistent with the Eleventh Circuit’s pre-McDonnell decision that

a public official may not be convicted of honest services fraud for merely self-

dealing or improperly steering public contracts. United States v. Aunspaugh, 792

F.3d 1302, 1308 (11th Cir. 2015). The law requires the government to plead, and

obviously prove more. Counts 1–14 of the Second Superseding Indictment fail for

this very reason.

      Here, there are no allegations in the Second Superseding Indictment that

sufficiently allege a particular question or matter to be influenced at the time of the

promise. So even assuming a promise was made and described sufficiently in the

charging document, which it was not, the particular question or matter to be



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influenced must be concretely identified.

      Despite the government’s third tortured attempt to sufficiently plead

violations of a conspiracy to commit honest services fraud and substantive counts of

honest services wire fraud, careful inspection of the Second Superseding Indictment

reveals that it is devoid of sufficiently concrete, specific factual allegations of an

illegal agreement. Ironically, in trying to repair the duplicitous conspiracy charge,

the government has impermissibly expanded the conspiracy and substantive bribery

charges beyond what was contained in the Superseding Indictment, and certainly

beyond what is allowed by law.

      In fact, to overcome the Court’s finding that Count 1 of the Superseding

Indictment charged multiple conspiracies and failed to charge other Counts with

specificity, the government returned the Second Superseding Indictment charging

Finch and Anderson with conspiracy to commit honest services fraud and

substantive counts of honest services wire fraud “related to specific matters, to wit,

Finch’s business interest.” ECF No. 214 ¶¶ 125 (Count 1), 129 (Counts 2–14). In

the Court’s now-vacated Order dismissing Count 1 of the Second Superseding

Indictment, the Court recognized that paragraph 125 failed to fix the conspiracy

count’s duplicity problems. ECF No. 293 (“[P]aragraph 125 is most naturally read

as containing a non-exhaustive list of schemes. No wonder Anderson’s lawyers ‘did

not read and understand Paragraph 125 to . . . limit the scope of the charged



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conspiracy.’ ”). Indeed, Counts 1–14 fail because the government does not identify

any promise relating to a specific, concrete, or focused question, matter, cause, suit,

proceeding, or controversy.     The government’s decision to charge Finch and

Anderson in Counts 1–14 with a bribery related to a “non-exhaustive list” now fails

to meet the requirements announced in McDonnell and as explained in Silver.

      The Defendants previously sought dismissal of the honest services fraud

counts within the Superseding Indictment for failing to identify sufficiently specific

questions or matters. ECF Nos. 131, 138, 143, 149, 155. Leaning on McDonnell

and Silver, the Court said “it [was] a close call” and found that the Superseding

Indictment identified sufficiently specific questions or matters. ECF No. 185 at 16.

The government’s vague modification to the language of the Second Superseding

Indictment changes the analysis. The honest services counts fail to sufficiently

identify specific questions or matters changes now that the government has included

the overinclusive, “non-exhaustive” language regarding “Finch’s business interest.”

ECF No. 323 (“This Court stands by its conclusion that the most natural reading of

this construction is that the WorldClaim and ECS schemes are incorporated within

Count 1’s non-exhaustive list.”).3 The same “non-exhaustive” language in Count 1,



3
 Although the Court reinstated Count 1, deciding to address finding of duplicitous
conspiracies with a forced election of theories and jury instructions, the Court did
not reach the issue of whether “Finch’s business interest” is legally sufficient
according to Skilling, McDonnell, and Silver.

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is also contained in Counts 2–14. Compare ECF No. 214 ¶ 125, with ¶ 129.

      This is now “the type of situation envisioned in Silver where the matter is so

broadly drawn that ‘criminal liability could attach to any later action the official

takes so long as the official is exercising some ability granted to him or her by law.’ ”

ECF No. 185 at 16 (quoting Silver, 948 F.3d at 557). In short, the government’s

attempt to criminally capture any conceivable event relating to “Finch’s business

interest” is unconstitutionally vague and impermissible.

      In fact, this Court previously ruled on this exact issue before and dismissed

part of the Superseding Indictment. See ECF No. 185 at 17. Defendant Albritton

moved to dismiss Count 16 of the Superseding Indictment for failing to allege any

quid pro quo. ECF No. 143. The government argued that Count 16 alleged that the

quid pro quo was Company A’s payment for legal services in exchange for

Albritton’s directing business to Company A. ECF No. 159 at 36-37. This Court

rejected the government’s theory that any favorable action a public official took on

any matter involving a company’s business interests would give rise to an honest

services fraud charge and dismissed the charge. ECF No. 185 at 17 (citing Silver,

948 F.3d at 557).

      The government is advancing an identical theory in Counts 1–14 of the

Second Superseding Indictment. A promise to perform some act or to “benefit the

payor” without more cannot be understood to refer to a “formal exercise of



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governmental power that is similar in nature to a “cause, suit, proceeding or

controversy.” McDonnell, 579 U.S. at 569-70. “[S]uch a promise is so lacking in

definition or specificity that it amounts to no promise at all.” Silver, 948 F.3d at 557.

Without a promise or agreement, there is no quid pro quo. Without a quid pro quo,

there can be no honest services violation. Both are required. Both are lacking in

this charging document.

      In the honest services context, the law requires the government and allegations

to be more precise. A generic “business interest” is legally insufficient question or

matter; thus Counts 1–14 warrant dismissal under Rule 12.

      C.     The government’s “as the opportunities arise” theory does not
             absolve the government of the requirement that it identify a
             promise relating to a specific, concrete, or focused question, matter,
             cause, suit, proceeding, or controversy.

      As it has previously done, the government will undoubtedly argue that the

“retainer” or “as opportunity arises” doctrines permit broad allegations of implied

illegal agreements for of honest services bribery as contained in Counts 1–14. This

argument, however, stretches the “retainer” theory to illogical ends and is not

supported by law. Silver, 948 F.3d at 553 (“The ‘as the opportunities arise’ theory

of bribery . . . requires a promise to ‘exercise particular kinds of influence as specific

opportunities arise.’ McDonnell clarifies that, to be convicted of bribery under the

‘as the opportunities arise’ theory, the public official must, at minimum, promise to

influence a ‘focused and concrete’ ‘question or matter’ that ‘involves a formal

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exercise of governmental power.’ ”).

      As discussed above, this Court has previously rejected the government’s

theories that any favorable actions in support of a company’s business interest

survives a Rule 12 motion to dismiss. See supra § IV(B). To be clear, this motion

challenges the government’s failure to identify and allege a concrete question or

matter that the official understood at the time of a promise—not the “retainer” or “as

opportunities arise” theories of bribery or sufficiency of evidence.       Here, the

expansive, unrestrained honest services allegations in Counts 1–14 of the Second

Superseding Indictment are legally insufficient to charge a violation of the honest

services statute against Defendants Finch and Anderson and should be dismissed.

V.    Conclusion

     As pled by the government, an honest services theory requires an allegation of

bribery. Bribery, at minimum, requires an allegation of an agreement, a quid pro

quo, and an intent to influence an official act. It requires that an official accept a

payment, knowing that they expecting to use their office to influence a “focused,”

“concrete,” and “specific” question of matter. A promise to perform some act or to

“benefit the payor” without more cannot be understood to refer to a “formal exercise

of governmental power” that is similar in nature to a “cause, suit, proceeding or

controversy.” McDonnell, 579 U.S. at 569-70.

     Here, alleging an intent to influence or act in favor of unlimited and non-



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exhaustive “business interest” is not legally sufficient. Because Counts 1–14 of the

Second Superseding Indictment are fatally flawed, they must be dismissed.

Respectfully, Defendant Finch urges that the Court strongly consider dismissal with

prejudice as the government should not get unlimited bites at the apple.



                    LOCAL RULE 7.1(F) CERTIFICATION

      Pursuant to Local Rule 7.1(F), the undersigned certifies that this motion

contains 5,037 words pursuant to the word count provided by Microsoft Word.



              LOCAL RULE 7.1(K) REQUEST FOR HEARING

      Pursuant to Local Rule 7.1(K), Defendant James D. Finch respectfully

requests that the Court set this matter for hearing because oral argument would assist

the Court in resolving the issues raised in this Motion to Dismiss. The undersigned

estimates that the defense would need approximately 60 minutes for argument.




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                                Respectfully submitted,

                                /s/ Guy A. Lewis
                                Guy A. Lewis
                                Florida Bar No. 623740
                                Jeffrey M. Forman
                                Florida Bar No. 105135
                                The Law Offices of Guy A. Lewis PLLC
                                12575 SW 67th Avenue
                                Pinecrest, Florida 33156
                                954-688-6340
                                glewis@lewistein.com
                                jforman@lewistein.com

                                Counsel for Defendant,
                                James D. Finch




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 12, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF and that a true and

correct copy of the foregoing has been served electronically via the CM/ECF System

on all counsel of record.



                                 /s/ Guy A. Lewis
                                 GUY A. LEWIS




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